         Case 1:10-cr-00398-ADA-BAM Document 169 Filed 04/01/14 Page 1 of 2


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     Attorneys for the
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7

8                       IN THE UNITED STATES DISTRICT COURT

9                          EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,       ) NO. 1:10-CR-00398 AWI
                                     )
11             Plaintiff,            )
                                     ) STIPULATION AND ORDER REGARDING
12        v.                         ) DEPOSIT OF MONIES
                                     )
13   JON VANCE MCDADE, aka Jon Vance )
     Lankford,                       )
14                                   )
               Defendant.            )
15                                   )
16

17        IT IS HEREBY STIPULATED by and between the parties hereto, and

18   through their respective attorneys of record herein, that defendant

19   shall deposit with the Clerk of the U.S. District Court in the

20   existing commercial registry account for this case $13,670.31, and

21   that no amount shall be disbursed until further order of Court.

22   Dated:   March 17, 2014                         BENJAMIN B. WAGNER
                                                     United States Attorney
23
                                                      /s/ Christopher D. Baker
24                                                   CHRISTOPHER D. BAKER
                                                     MICHAEL G. TIERNEY
25                                                   Assistant U.S. Attorneys
26
                                                      /s/ Eric K. Fogderude
27                                                   ERIC K. FOGDERUDE
                                                     Attorney for defendant
28                                                   Jon Vance McDade
29                                          -1-
                           STIPULATION AND ORDER TO DEPOSIT MONEIS
30
          Case 1:10-cr-00398-ADA-BAM Document 169 Filed 04/01/14 Page 2 of 2


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8                           IN THE UNITED STATES DISTRICT COURT

9                             EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,       ) NO. 1:10-CR-00398 AWI
                                     )
11             Plaintiff,            )
                                     ) ORDER TO DEPOSIT MONIES
12        v.                         )
                                     )
13   JON VANCE MCDADE, aka Jon Vance )
     Lankford,                       )
14                                   )
               Defendant.            )
15                                   )
16

17         Defendant shall deposit with the Clerk of the U.S. District

18   Court in the existing commercial registry account for this case

19   $13,670.31, and no amount shall be disbursed until further order of

20   Court.

21
     IT IS SO ORDERED.
22

23   Dated: April 1, 2014
                                       SENIOR DISTRICT JUDGE
24

25

26
27

28

29
                                    ORDER TO DEPOSIT MONIES
30
